 1                                                        Exhibit B
                 CUSTOMARY AND COMPARABLE COMPENSATION DISCLOSURES
 2

 3                                                            BLENDED HOURLY RATE
                        Category of
                        Timekeeper             Billed by timekeepers in all
 4                                                                                Billed in this Application
                                                     domestic offices1
                   Partners                             $1,374.18                         $1,457.98
 5
                   Associates                             784.50                           652.30
                   Paraprofessionals                      337.89                           306.93
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             In accordance with the Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses
     Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013, the preceding year is
27   a rolling 12 months year ending September 30, 2019; blended rates reflect aggregate work performed in the preceding year
     in Cravath’s New York office (its sole domestic office) by all its timekeepers in each category.
28

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